  Case 22-01730      Doc 15     Filed 03/15/22 Entered 03/15/22 14:30:03              Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

       IN RE:                                )       Chapter 13
                                             )
       Robert Grandberry, Sr.,               )       Case No. 22-01730
                                             )
                      Debtor(s).             )       Judge Barnes
                                    NOTICE OF MOTION
TO:    Trustee via electronic court and to all creditors via the Section 341 Notice
       See attached Service List
        YOU ARE HEREBY NOTIFIED that on April 7, 2022 at 2:30 p.m. or as soon thereafter
as counsel may be heard, the undersigned shall appear before the Honorable Judge Cleary, or any
Judge sitting in his/her stead and present the Attorney’s Application for Chapter 13
Compensation, a copy of which is hereby attached.
        This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the
motion, you must do the following:
        To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.
        To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and passcode.
        Meeting ID and passcode. The meeting ID for this hearing is 161 329 5276 and the
passcode is 433658. The meeting ID and passcode can also be found on the judge’s page on the
court’s web site.
        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.
                                                                              /s/ David H. Cutler
                                  CERTIFICATE OF SERVICE
        The undersigned, an attorney, certifies that he caused the above and foregoing Notice and
attached Motion to be served Trustee by electronic court notice and on all creditors via the
Section 341 notice on March 15, 2022.
                                                                              /s/ David H. Cutler
Cutler & Associates, Ltd.
4131 Main St.
Skokie, IL 60076
Phone: (847) 673-8600
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Information to identify the case:

                       Robert S Grandberry Jr.                                                  Social Security number or ITIN:      xxx−xx−5271
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                       Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                  EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Northern District of Illinois                                   Date case filed for chapter:            13       2/16/22

Case number:          22−01730

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                                10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Robert S Grandberry Jr.

2. All other names used in the
   last 8 years
                                                   12414 S. State St.
3. Address                                         Chicago, IL 60628
                                                   David H Cutler                                                         Contact phone 847−673−8600
4. Debtor's  attorney
   Name and address
                                                   Cutler & Associates, Ltd.
                                                   4131 Main St.
                                                                                                                          Email: cutlerfilings@gmail.com

                                                   Skokie, IL 60076

5. Bankruptcy trustee                              Marilyn O Marshall                                                      Contact phone 312−431−1300
     Name and address                              224 South Michigan Ste 800
                                                   Chicago, IL 60604

6. Bankruptcy clerk's office                                                                                               Hours open:
     Documents in this case may be filed           Eastern Division                                                        8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                              219 S Dearborn                                                          Sundays and legal holidays.
     You may inspect all records filed in          7th Floor                                                               Contact phone 1−866−222−8029
     this case at this office or online at         Chicago, IL 60604                                                       Date: 2/17/22
      https://pacer.uscourts.gov.
                                                                                                                                   For more information, see page 2




Official Form 309I                                           Notice of Chapter 13 Bankruptcy Case                                                       page 1
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Debtor Robert S Grandberry Jr.                                                                                                           Case number 22−01730
7. Meeting of creditors
    Debtors must attend the meeting to     March 16, 2022 at 12:00 PM                                        Location:
    be questioned under oath. In a joint                                                                     Appear by Telephone. For instructions,, visit
    case, both spouses must attend.                                                                          www.chi13.com
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
                                           Debtors must bring a picture ID and proof of
                                           their Social Security Number.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 5/16/22
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 4/27/22
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 8/15/22
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           4/7/22 at 02:30 PM , Location: Appear Using Zoom for Government, Judge Barnes. To appear by video,
                                           use this link: https://www.zoomgov.com/ or to appear by telephone, call Zoom for Government at
                                           1−669−254−5252 or 1−646−828−7666. Then enter the meeting ID 161 329 5276 and passcode 433658.

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4500.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                           believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                           deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 22-01730-TAB
Robert S Grandberry, Jr.                                                                                               Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 17, 2022                                               Form ID: 309I                                                             Total Noticed: 28
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 19, 2022:
Recip ID                   Recipient Name and Address
db                     +   Robert S Grandberry, Jr., 12414 S. State St., Chicago, IL 60628-7323
29664255               +   Atlas Collections, PO BOX 44, Muncie, IN 47308-0044
29664256               +   Child Support Services, Attn: Info processing unit, PO Box 19119 509 S 6th St., Springfield, IL 62701-1809
29664259               +   Eagle Loan, 7311 US 31 South, Indianapolis, IN 46227-8540
29664260               +   Efron & Efron, 5246 Hohman Ave., Hammond, IN 46320-1733
29664262               +   Geraci Law LLC, 55 E Monroe St. #3400, Chicago, IL 60603-5920
29664263               +   Hammond City Court, 5925 Calumet Ave., Hammond, IN 46320-2554
29664264               +   Illinois Child Support, Hfs/Attn: Bankruptcy/Mail Drop: 509, 509 S 6th St., Springfield, IL 62701-1809
29664265               +   Illinois Child Support, Mail Response Unit, Po Box 19405, Springfield, IL 62794-9405
29664266               +   Indiana Child Support Bureau, Inquiry Unit MS11, 402 W. Washington St., Indianapolis, IN 46204-2773
29664269               +   Omni 41 Health & Fitness, c/o Efron & Efron Pc, 5246 Hohman Ave 5th Fl, Hammond, IN 46320-1733
29664272               +   Robert J. Semrad, 20 S. Clark St., 28th Floor, Chciago, IL 60603-1811
29664273               +   Santander Bank, Att: Bankruptcy, 2 Huntington Quadrangle Ste 101N, Melville, NY 11747-4503
29664274               +   Sprint, 8014 Bayberry Rd., Jacksonville, FL 32256-7412
29664275               +   State disbursement unit, Po Box 5400, Carol Stream, IL 60197-5400
29664276               +   Verizon Wireless, PO BOX 640, Hopkins, MN 55343-0640

TOTAL: 16

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: cutlerfilings@gmail.com
                                                                                        Feb 17 2022 21:45:00      David H Cutler, Cutler & Associates, Ltd., 4131
                                                                                                                  Main St., Skokie, IL 60076
tr                     + Email/Text: courtnotices@chi13.com
                                                                                        Feb 17 2022 21:45:00      Marilyn O Marshall, 224 South Michigan Ste 800,
                                                                                                                  Chicago, IL 60604-2503
ust                    + Email/Text: USTPREGION11.ES.ECF@USDOJ.GOV
                                                                                        Feb 17 2022 21:45:00      Patrick S Layng, Office of the U.S. Trustee,
                                                                                                                  Region 11, 219 S Dearborn St, Room 873,
                                                                                                                  Chicago, IL 60604-2027
29664254                   EDI: ATTWIREBK.COM
                                                                                        Feb 18 2022 02:48:00      AT&T, PO BOX 8212, Aurora, IL 60572-8212
29664253               + EDI: PHINHARRIS
                                                                                        Feb 18 2022 02:48:00      Arnold Scott Harris PC, 111 W Jackson Blvd.,
                                                                                                                  Suite 600, Chicago, IL 60604-3517
29664258                   Email/Text: BNCnotices@cityofchicago.org
                                                                                        Feb 17 2022 21:45:00      City of Chicago, Att: Bankruptcy Dept, 121 N.
                                                                                                                  LaSalle Street400, Chicago, IL 60602
29664257               + EDI: PHINHARRIS
                                                                                        Feb 18 2022 02:48:00      City of Chicago, c/o Arnold Scott Harris PC, 111
                                                                                                                  W Jackson Blvd Ste 600, Chicago, IL 60604-3517
29664261               + Email/Text: gfslegal@gatewayfinancial.org
                                                                                        Feb 17 2022 21:46:00      Gateway Financial, PO BOX 3257, Saginaw, MI
                                                                                                                  48605-3257
29664267                   EDI: IRS.COM
                                                                                        Feb 18 2022 02:48:00      Internal Revenue Service, c/o Centralized
                                                                                                                  Insolvency Operatio, Post Office Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
29664268                   EDI: JEFFERSONCAP.COM
                                                                                        Feb 18 2022 02:48:00      Jefferson Capital Systems, LLC, PO BOX 7999,
                                                                                                                  Saint Cloud, MN 56301
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District/off: 0752-1                                              User: admin                                                             Page 2 of 2
Date Rcvd: Feb 17, 2022                                           Form ID: 309I                                                         Total Noticed: 28
29664270                 Email/Text: PGLNSGBankruptcy@wecenergygroup.com
                                                                                   Feb 17 2022 21:45:00     Peoples Gas, Att: Bankruptcy, 200 E. Randolph
                                                                                                            St., Chicago, IL 60601
29664271              + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Feb 17 2022 21:50:41     Resurgent Capital Services, PO Box 10587,
                                                                                                            Greenville, SC 29603-0587

TOTAL: 12


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 19, 2022                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 17, 2022 at the address(es) listed
below:
Name                             Email Address
David H Cutler
                                 on behalf of Debtor 1 Robert S Grandberry Jr. cutlerfilings@gmail.com, r48280@notify.bestcase.com

Marilyn O Marshall
                                 courtdocs@chi13.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov


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                                                                                         $ 0.00

                                                                                         $ 0.00

             C.          Total Fees and Estimated Expenses:                              $ 4,838.00

                         Advance payment by debtor:                          $                        0.00

                                                                                                  41 838.00
              , JL-B1ance owed by debtor:                                    $
                                                                                   lII

Robert S Grandberry, Jr.                                                 D   '    Cuter
Debtor                                                                   Lawyer

                                                                         Date:    February 14, 2022
Debtor

Date:          February 14, 2022




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